CaseCase: 21-30037   Document:
     3:20-cv-01455-TAD-KDM     00515997774
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                                              08/27/21 PageFiled:
                                                            1 of 208/27/2021
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                     United States Court of Appeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
  ġ                     ġ                                  ġ
  LYLE W. CAYCE         ġ                                          TEL. 504-310-7700
  CLERK                 ġ                                       600 S. MAESTRI PLACE,
                        ġ                                               Suite 115
                                                               NEW ORLEANS, LA 70130

                                 August 27, 2021
 MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 21-30037        Chambless Enterprises v. Walensky
                            USDC No. 3:20-CV-1455

 Enclosed is an order entered in this case.




                                      Sincerely,
                                      LYLE W. CAYCE, Clerk



                                      By: _________________________
                                      Dantrell L. Johnson, Deputy Clerk
                                      504-310-7689


 Mr.   Afnan Akram
 Ms.   Danielle Davis
 Mr.   Eric Gregory Dunn
 Ms.   Davida Finger
 Ms.   Alisa Beth Klein
 Mr.   Christopher McGreal
 Mr.   Tony R. Moore
 Mr.   James Clark Rather, Jr.
 Mr.   Steven M. Simpson
 Mr.   Brian James Springer
 Ms.   Leslie Cooper Vigen
 Mr.   Luke A. Wake
 Mr.   David Holman Williams
 Ms.   Dayna Zolle
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                           Document  61 FiledPage: 1 Date
                                              08/27/21 PageFiled:
                                                            2 of 208/27/2021
                                                                   PageID #: 792




                 United States Court of Appeals
                      for the Fifth Circuit
                                     ___________

                                      No. 21-30037
                                     ___________

       Chambless Enterprises, L.L.C.; Apartment Association
       of Louisiana, Incorporated,

                                                            Plaintiffs—Appellants,
                                          versus

       Rochelle Walensky; Sherri Berger; United States
       Department of Health and Human Services; Merrick
       Garland, U.S. Attorney General; Xavier Becerra,
       Secretary, U.S. Department of Health and Human
       Services; Centers for Disease Control and Prevention,

                                                Defendants—Appellees.
                       ______________________________

                       Appeal from the United States District Court
                          for the Western District of Louisiana
                                USDC No. 3:20-CV-1455
                       ______________________________

       ORDER:
                IT IS ORDERED that appellants’ opposed motion for injunction
       pending appeal is GRANTED. See Alabama Ass’n of Realtors v. U.S. Dep’t
       of Health & Human Services, No. 21A23, 2021 WL 3783142 (U.S. Aug. 26,
       2021).
                              LYLE W. CAYCE, CLERK
                              United States Court of Appeals
                                   for the Fifth Circuit
                                   /s/ Lyle W. Cayce
                     ENTERED AT THE DIRECTION OF THE COURT
